Case 22-18807-JNP           Doc 108-2 Filed 05/17/24 Entered 05/17/24 11:04:40                   Desc
                                  Certification Page 1 of 5



 UNITED STATES BANKRUPTCY COURT
  FOR THE DISTRICT OF NEW JERSEY
 _______________________________________
 Caption in Compliance with D.NJ. LBR 9004-1(b)
 E. Richard Dressel, Esquire (ED 1793)
 Lex Nova Law LLC
 10 E. Stow Road, Suite 250
 Marlton, NJ 08053
 (856) 382-8211
 Attorneys for Brian Thomas,
    Chapter 7 Trustee

                                                         Case No:    ____ 22-18807(JNP)_____
 In Re:
                                                         Chapter:    _______7_______________
 A-ONE LEASING, LLC,
                                                         Judge:      _Jerrold N. Poslusny, Jr.____
                     Debtors.
                                                         Hearing Date: June 11, 2024 at 11:00 am


                  CERTIFICATION OF ROBERT N. SNYDER, JR, CPA,
               IN SUPPORT OFTRUSTEE MOTION FOR AN ORDER OF
           SUBSTANTIVECONSOLIDATION WITH A-ONE WASTE SOLUTIONS


          Robert N. Snyder, Jr., CPA, the Court-appointed accountant for Brian Thomas, the

Chapter 7 Trustee (the “Trustee”) for A-One Leasing, LLC (“AOL” or the “Debtor”) and A-One

Waste Solutions (docket no. 22-18808(JNP)) (“AOW” and, together with AOL, the “Debtors”),

makes this Certification in support of the Trustee’s Motion for the entry of an Order of for

substantive consolidation of the instant case with that of AOW as follows:

                     A-ONE LEASING LLC AND A-ONE WASTE SOLUTIONS

          1.     The Debtor filed a voluntary petition for relief pursuant to Chapter 7 of the

Bankruptcy Code on November 6, 2022 (the “AOL Petition Date”).

          2.     Andrew Finberg was the [initial] interim Trustee in this Chapter 7 case, duly-

appointed and so-acting.

          3.     On August 30, 2023, Brian S. Thomas was appointed as successor Trustee to Mr.


#729721 v1
Case 22-18807-JNP         Doc 108-2 Filed 05/17/24 Entered 05/17/24 11:04:40                   Desc
                                Certification Page 2 of 5



Finberg, duly-appointed and so-acting.

       4.      I am the Court-appointed accountant in the AOL Chapter 7 proceeding, having

been appointed by Orders of this Court dated December 19, 2022 and September 21, 2023.

       5.      A-One Waste Solutions filed a voluntary petition for relief pursuant Chapter 7 of

the Bankruptcy Code on November 6, 2022 (the “AOW Petition Date” and, together with the

AOL Petition Date, the “Petition Date”), which case was docketed at no 22-18808(JNP).

       6.      Andrew Finberg was appointed as the [initial] interim Trustee in the AOW

Chapter 7 case, duly-appointed and so-acting.

       7.      On August 30, 2023, Brian S. Thomas was appointed as successor Trustee to Mr.

Finberg, duly-appointed and so-acting.

       8.      I am the Court-appointed accountant for the Trustee in each of the AOL and

AOW Chapter 7 proceedings, having been appointed by Orders of this Court dated December 19,

2022 and September 21, 2023 in each of the cases.

       9.      I am a Certified Public Accountant (“CPA”) licensed in New Jersey and hold the

Certified in Financial Forensics (“CFF”) credential from the American Institute of Certified

Public Accountants (“AICPA”), the Certified Insolvency and Restructuring Advisor (“CIRA”)

credential from the Association of Insolvency and Restructuring Advisors (“AIRA”), and the

Certified Fraud Examiner (“CFE”) credential from the Association of Certified Fraud Examiners

(“ACFE”). I have been practicing with specialty in insolvency and forensic accounting for over

30 years, primarily providing services to Chapter 7 trustees and related bankruptcy estates.

       10.     Pursuant to my appointment, the Trustee requested that I review the books and

records of AOL and AOW and other documents supplied by counsel for AOL and AOW.

      11.      Specifically, I have investigated the operations of AOL and AOW prior to the


                                                2

#729721 v1
Case 22-18807-JNP          Doc 108-2 Filed 05/17/24 Entered 05/17/24 11:04:40               Desc
                                 Certification Page 3 of 5



Petition Date, the records maintained by both entities, transcript of 2004 examination of James

Burns, subpoenaed statements from American Express, pleadings from Burns vs. Burns state

court litigation prior to the Petition Date and the numerous transfers between the Debtors and to

third parties (collectively, the “Records”).

       12.     Based the Records, AOL and AOW are believed to have been formed on April 16,

2013 as single member limited liability companies owned by Nicolette Burns as the 100%

managing member of each.

       13.     Prior to the Petition Date, AOL and AOW were trucking and hauling companies

       which, among other things, transported raw and finished materials and provided snow

       clearing services for the State of New Jersey.

       14.      While AOL held title to the physical assets that AOW used (vehicles, trailers

equipment, etc.), AOW apparently collected all customer payments and paid all bills and

obligations for both AOW and AOL.

       15.     Prior to the Petition Date, the Records reflect that Nicolette Burns’ husband,

James Burns, appears to have managed AOL and AOW’s business operations, had access to

banking and computer software programs and received wages from AOW. The Records reflect

that marital issues between Nicolette Burns and James Burns appear to have contributed to the

demise of AOL and AOW which ultimately led to the bankruptcy filing(s).

       16.     The Records reflect that in/about June 2021 Nicolette Burns obtained three (3)

separate restraining orders against James Burns. Subsequent thereto, in March of 2022, Nicolete

Burns filed a state court complaint against James Burns, A-One Contractors, LLC, Sherri Stiles-

Kuhn and Stile Hauling, LLC (“Burns v. Burns”), alleging that James Burns had created a new

entity known as A-One Contractors, LLC (“AOC”) in March 2021 through which he was


                                                3

#729721 v1
Case 22-18807-JNP          Doc 108-2 Filed 05/17/24 Entered 05/17/24 11:04:40                Desc
                                 Certification Page 4 of 5



diverting customer payments from AOW and AOL to AOC while using AOL and AOW’s

equipment and employees.

       17.     As a result of the above, the Records reflect that in April 2022, a preliminary

injunction was issued in the Burns v. Burns case which ordered various relief, including the

appointment of Noel Capuano of Friedman, LP as fiscal receiver of AOL and AOW so that all

future funds owed to AOL and AOW would be directed to AOW’s accounts.

       18.     As a result of my investigation of AOL and AOW as set forth in para. 10

hereinabove, I have observed the following:

               a.      AOL and AOW, while separate legal entities were, for all intents and

purposes, operated as one economic entity, as the business and assets of AOL and AOW were

indiscriminately comingled.

               b.      AOW was the operating company for the combined AOL/AOW entities,

while AOL held title to physical assets (vehicles, trailers, equipment, etc.) that the combined

entities used to operate and generate revenues.

               c.      AOW collected all customer payments and paid all bills for both Debtors.

               d.      AOL does not appear to have had its own bank account since 2016.

               e.      There is no indication that AOL filed a separate tax return (Schedule C)

for the business in 2019 so the depreciation expense for the assets owned by AOL was recorded

on the Schedule C tax return for AOW.

               f.      From the combined Debtors’ operations, AOW appears to have made

payments to or on behalf of Nicolette Burns and to or for the benefit of James Burns for non-

business items and to or on behalf of the joint expenses of Nicolette Burns and James Burns

totaling millions of dollars.


                                                  4

#729721 v1
Case 22-18807-JNP          Doc 108-2 Filed 05/17/24 Entered 05/17/24 11:04:40               Desc
                                 Certification Page 5 of 5



               g.      Some creditors filed proof of claims in both of the Debtors’ bankruptcy

cases, evidencing vendors’ confusion, and reinforcing the perception that AOL and AOW were

operating as one entity.

               h.      In the AOL case, the Trustee has sold assets and otherwise generated an

estate of approximately $170,000 to date. In the AOW case, the Trustee has filed recovery

actions against Caliber Mortgage, Rushmore Mortgage, Capital One and American Express. To

date, claims totaling $965,377.31 have been filed in the AOL case, whereas, claims totaling

$242,756.51 are filed in the AOW case. After elimination for claims filed in both cases,

amended claims, and reduction for claims filed by insiders, the net combined claims total

$778,976.16. The gross amount being sought in the recovery actions, along with the recoveries

made to date, are significantly greater than the net combined claims amount.

               i.      The intermingling of the Debtors’ operations, the almost complete lack of

corporate formalities between AOL and AOW, and the need to protect the interests of all

creditors harmed by the apparent operations of AOL and AOW as a single enterprise, all suggest

that a substantive consolidation of AOL and AOW would allow for the most equitable treatment

for the combined creditor body and for the streamlined administration of the bankruptcy estates.

       I certify that the foregoing statements made by me are true. I am aware that if any of the

foregoing statements made by me are willfully false, I am subject to punishment.


                                                    By: /s/ Robert N. Snyder, Jr.
                                                        Robert N. Snyder, Jr., CPA

Dated: May 16, 2024




                                                5

#729721 v1
